           Case 2:11-cr-00458-GEB Document 57 Filed 11/29/12 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   MICHAEL M. BECKWITH
     Assistant U.S. Attorney
 3   501 "I" Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2790
 5
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S- 2:11-0458 GEB
                                  )
12                    Plaintiff, ) STIPULATION AND [PROPOSED] ORDER
                                  ) RESETTING STATUS CONFERENCE,
13                v.              ) AND EXCLUDING TIME UNDER THE
                                  ) SPEEDY TRIAL ACT
14   BUENA MARSHALL               )
     DEBORAH LOUDERMILK,          )
15   REGINALD DODSON, SR., and    )
     KADESTA HARRIS,              )
16                                )
                      Defendants. )
17   _____________________________)
18
          The United States of America, through its counsels of record,
19
     Benjamin B. Wagner, United States Attorney for the Eastern District
20
     of California, and Michael M. Beckwith, Assistant United States
21
     Attorney, defendant Buena Marshall, through his counsel of record,
22
     Clyde M. Blackmon, defendant Deborah Loudermilk, through her counsel
23
     of record, James T. Reilly, defendant Reginald Dodson, Sr. through
24
     his counsel of record, Dina L. Santos, and Kadesta Harris through
25
     her counsel of record, J Toney, hereby stipulate and agree that the
26
     status conference set for November 30, 2012, be continued to January
27
     18, 2013.
28

                                          1
           Case 2:11-cr-00458-GEB Document 57 Filed 11/29/12 Page 2 of 3


 1        The parties need additional time for preparation.          Therefore,
 2   the parties have agreed and respectfully request that the Court set
 3   the date of January 18, 2013, at 9:00 a.m., for the status
 4   conference.   Accordingly, the parties stipulate that time be
 5   excluded pursuant to    Local Code T4 - additional time to prepare.
 6
 7   IT IS SO STIPULATED.
 8
                                                BENJAMIN B. WAGNER
 9                                              United States Attorney

10
     Dated: November 28, 2012         By:       /s/ Michael M. Beckwith
11                                              MICHAEL M. BECKWITH
                                                Assistant U.S. Attorney
12                                              Attorney for Plaintiff

13
     Dated: November 28, 2012         By:       /s/ Clyde M. Blackmon
14                                              CLYDE M. BLACKMON
                                                Attorney for Defendant
15                                              BUENA MARSHALL

16
     Dated: November 28, 2012         By:       /s/ James T. Reilly
17                                              JAMES T. REILLY
                                                Attorney for Defendant
18                                              DEBORAH LOUDERMILK

19
     Dated: November 28, 2012         By:       /s/ Dina L. Santos
20                                              DINA L. SANTOS
                                                Attorney for Defendant
21                                              REGINALD DODSON, SR.

22   Dated: November 28, 2012         By:       /s/ J Toney
                                                J TONEY
23                                              Attorney for Defendant
                                                KADESTA HARRIS
24
25
26
27
28

                                            2
              Case 2:11-cr-00458-GEB Document 57 Filed 11/29/12 Page 3 of 3


 1                                         ORDER
 2        UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
 3   hereby ordered that the status conference set for November 30, 2012,
 4   at 9:00 a.m., be continued to January 18, 2013, at 9:00 a.m., and
 5   that the time beginning November 30, 2012,           and extending through
 6   January 18, 2013, be excluded from the calculation of time under the
 7   Speedy Trial Act.      The Court finds that the interests of justice
 8   served by granting this continuance outweigh the best interests of
 9   the public and the defendants in a speedy trial.            18 U.S.C. §
10   3161(h)(8)(A).
11
12        IT IS SO ORDERED.
13   Dated:    November 29, 2012
14
15                                      GARLAND E. BURRELL, JR.
16                                      Senior United States District Judge

17
18
19
20
21
22
23
24
25
26
27
28

                                             3
